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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                        19 Civ. 1013 (DLC)

 IN RE GENERAL ELECTRIC SECURITIES                      NOTICE OF MOTION
 LITIGATION
                                                        ORAL ARGUMENT REQUESTED




        PLEASE TAKE NOTICE that upon the annexed Declaration of Blake T. Denton, dated

September 27, 2019, the exhibits attached thereto, and the accompanying Memorandum of Law,

the undersigned hereby moves this Court on behalf of Defendants General Electric Company, John

L. Flannery, Jamie S. Miller, Jan R. Hauser, Russell Stokes, Chuck Nugent, Scott Strazik, and Joe

Mastrangelo, before the Honorable Denise L. Cote, in Courtroom 18B of the United States District

Court for the Southern District of New York, Daniel Patrick Moynihan United States Courthouse,

500 Pearl Street, New York, New York, 10007, for an Order dismissing the Second Amended

Complaint with prejudice pursuant to Rules 9(b) and 12(b)(6) of the Federal Rules of Civil

Procedure, and the Private Securities Litigation Reform Act, and granting such further relief as the

Court may deem just and proper.

        PLEASE TAKE FURTHER NOTICE that, in accordance with the Order entered in this

action on September 4, 2019 [Dkt. 82], Lead Plaintiff’s opposition papers shall be served on or

before October 25, 2019, and Defendants’ reply papers shall be served on or before November 8,

2019.




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Dated: New York, New York            Respectfully submitted,
       September 27, 2019
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